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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                         )          Case No. 4:13CR3122
                                                  )
                                  Plaintiff,      )
                                                  )          AMENDED ORDER ON
        vs.                                       )          SENTENCING SCHEDULE
                                                  )
MARY E. MERKEL,                                   )
                                                  )
                                  Defendant.      )

       IT IS ORDERED that the defendant’s unopposed motion to continue the deadline for
filing sentencing statement, variance motion, and to continue defendant’s sentencing hearing
(filing 53) is granted.

        IT IS FURTHER ORDERED that the following deadlines and procedures are reset in this
case:

6.      September 15, 2014:

              (a) Any proposals to the probation office for community service, community
              confinement, intermittent confinement or home detention;

              (b) Motions to the court:
                   (1) for departure under the guidelines (including, but not limited to, motions
                   by the government) ; and
                   (2) for deviation or variance from the guidelines as allowed by the Supreme
                   Court’s decision in United States v. Booker, 125 S. Ct. 738 (2005) or its
                   progeny;

              (c) Counsel's filing and serving on all other parties and the probation officer a
              written statement of position respecting each of the unresolved objections to the
              presentence report, including the specific nature of each objection to the
              presentence report.

              (d) If evidence is to be offered in support of or in opposition to a motion under
              subparagraph (b) of this paragraph or in support of or in opposition to an objection
              under subparagraph (c) of this paragraph 6, it must be: by affidavit, letter, report or
              other document attached to the statement of position or by oral testimony at the
              sentencing hearing. If oral testimony is desired, a request must be made in the
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           statement of position and the statement of position must reveal (1) the nature of the
           expected testimony, (2) the necessity for oral testimony, instead of documentary
           evidence, such as affidavits, (3) the identity of each proposed witness, and (4) the
           length of time anticipated for presentation of the direct examination of the witness
           or witnesses. If a request for oral or documentary evidence is made by one party
           but not by the adverse party, the adverse party within five working days thereafter
           may make a responsive request for oral or documentary evidence, setting out
           details in the same manner as required by this paragraph 6(d).

           (e) Objections should be supported by a brief if a substantial issue of law is raised.
           Motions for departure should be supported by a brief that explains why the
           departure from the guideline sentencing range is justified by normal guideline
           departure theory. Motions for deviation or variance from the guidelines as
           allowed under Booker or its progeny should be supported by a brief that explains
           why a sentence other than that called for under the guidelines is justified by a
           principle of law that is different in kind or degree from the normal principles of
           law applied under a strict application of the guidelines.

           (f) It is expected that any objection first raised in a party’s statement of position
           will be addressed at the judge’s discretion, and that no consideration will be given
           to any sentencing factor first raised after the filing of the written statement.

7.   September 23, 2014: Judge's notice to counsel of rulings, tentative findings, and whether
     oral testimony is to be permitted.

8.   The following procedures shall apply to objections to tentative findings:

           (a) A written objection to tentative findings is not required if no evidence will be
           offered in support of the objection to tentative findings and no new substantial
           issue of law will be raised in support of an objection to tentative findings. In such
           a case, an oral objection to the tentative findings may be made at the time of
           sentencing.

           (b) A written objection to tentative findings is required if evidence will be offered
           in support of the objection to the tentative findings or if a new substantial issue of
           law is raised in support of the objection to the tentative findings. If evidence will
           be offered in support of the written objection to the tentative findings, the written
           objection shall include a statement describing why an evidentiary hearing is
           required, what evidence will be presented, and how long such a hearing would
           take. If a new substantial issue of law is raised in support of the written objection
           to tentative findings, such an objection shall be supported by a brief. Unless the
           court orders otherwise, a written objection to the tentative findings will be resolved
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            at sentencing in such manner as the court deems appropriate.

            (c) Any written objection to tentative findings shall be filed no later than five
            business days prior to the date set for sentencing. If that is not possible due to the
            lack of time between the issuance of tentative findings and the sentencing hearing,
            the written objection shall be filed as soon as possible but not later than one
            business day prior to sentencing.

9.    September 30, 2014, at 12:00 noon: Sentencing.

A probation officer must submit a sentencing recommendation to the sentencing judge no later
than seven days after the issuance of an order described in subparagraph (7) or, if no order is
issued, no later than 14 days after the date set in subparagraph (6). The probation officer is
directed to provide copies of any sentencing recommendation to counsel for the government and
counsel for the defendant at the time the recommendation is submitted to the sentencing judge.

      DATED August 21, 2014.

                                             BY THE COURT:

                                             Richard G. Kopf
                                             Senior United States District Judge
